EXHIBIT 34
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-cv-10910

                       Plaintiffs,

               v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.


                DECLARATION OF NEAL SWEENEY ON BEHALF OF UAW

I, Neal Sweeney, declare as follows:

   1. My name is Neal Sweeney. My job title is Organizer, UAW Higher Education Department.

My job duties include working closely with UAW local unions and UAW regions to develop

strategic organizing goals and bargaining priorities to build power within the higher education

sector; increasing membership engagement and mobilization through democratic, worker-led

programs; supporting broad, diverse leadership development; and identifying and developing

political and community action plans.

   2. I am over the age of 18 and competent to testify as to the matters set forth in this affidavit

based on my own personal knowledge.

   3. The International Union, United Automobile, Aerospace and Agricultural Implement

Workers of America (UAW) is one of the largest and most diverse unions in North America, with

members in the United States, Canada, and Puerto Rico and in virtually every sector of the

economy including approximately 120,000 workers in higher education—graduate students,

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postdoctoral scholars, researchers, university staff, and faculty—at institutions across the country.

From UAW’s earliest days, it has been a leader in the struggle to secure economic and social justice

for all people. UAW has a strong history of supporting and bargaining for contract provisions that

ensure diversity, equity and inclusion in the higher education sector and in all workplaces. UAW

has been actively involved in every workers’ rights and civil rights legislative battle since the

1930s, including the campaigns to pass the Civil Rights Act of 1964, the Voting Rights Act of

1965, the Fair Housing Act, the Civil Rights Restoration Act of 1988, and legislation to prohibit

discrimination against women, the elderly, and people with disabilities. In addition, UAW has long

advocated for increased federal funding for scientific research, recognizing its importance for

innovation, economic growth, and public health.

   4. The UAW International Executive Board (which includes the President, Secretary-

Treasurer, three Vice Presidents and nine Regional Directors) is responsible for carrying out the

programs and policies approved by the Constitutional Convention delegates and running the day-

to-day operations of the International Union. The UAW President’s Office includes a number of

departments that support UAW members, including the Higher Education Department. UAW

members belong to more than 600 local unions across the U.S., Canada, and Puerto Rico. Local

unions get support in organizing new members, bargaining contracts, handling problems with

employers, member education, political action, community activities and more from both the

national UAW offices and centers and each of the nine regional offices.

   5. I am aware that the Trump administration has taken a series of actions targeting Harvard

in recent months. In particular, I am aware that on March 10, 2025 the federal government sent a

letter to Harvard and many other universities warning of potential enforcement actions. I am aware

that on March 31, 2025, the federal government announced a comprehensive review of federal



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contracts and grants at Harvard University and its affiliates. I am aware that officials from the

Trump administration sent a letter to Harvard on April 3, 2025 demanding that Harvard

immediately take a long list of actions to remain a recipient of federal funding (the “April 3

Letter”). I am aware that this was followed by a subsequent letter from Trump administration

officials on April 11, 2025 with more detailed demands that “incorporate[d] and supersede[d] the

terms” of the April 3 Letter and which the Trump administration proposed would serve “as the

basis for an agreement in principle that will maintain Harvard’s financial relationship with the

federal government” (the “April 11 Letter,” and together with the April 3 Letter, the “Demand

Letters”). Both of the Demand Letters were made public and I have read the demands listed in the

Demand Letters.

   6. I am aware that on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism froze

over $2 billion in federal grants to Harvard. I understand that the federal government has since

refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

   7. I am aware that on May 5, 2025, Secretary of Education Linda McMahon announced that

“Harvard should no longer seek GRANTS from the federal government, since none will be

provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”) terminated

its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture terminated

its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy, Department of

Defense, the National Science Foundation, and the Department of Housing and Urban

Development each terminated their grants to Harvard. Letters communicating each of these

terminations were made public, and I have read each of those letters.




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   8. I am also aware of public statements made by the Trump administration beginning in early

2025 attacking the work of university researchers and the integrity of American universities and

making a range of threats about how the federal government intended to use its authority to impose

numerous demands on Harvard University specifically.

   9.   At Havard University, the UAW represents two bargaining units that include union

members directly impacted by the termination of federal funding: the Harvard Graduate Students

Union (“HGSU-UAW Local 5118”) and Harvard Academic Workers (“HAW-UAW”). HGSU-

UAW Local 5118 was recognized in 2018 and is currently negotiating their third collective

bargaining agreement. HGSU-UAW Local 5118 represents approximately 5,400 academic

workers across Harvard University, including teaching fellows, course assistants, and graduate

student research assistants. HAW-UAW was recognized in April 2024 and is currently negotiating

their first collective bargaining agreement, representing more than 3,300 non-student academic

workers, including postdoctoral researchers, lecturers, teaching assistants, research scientists, and

others who do similar work at The Faculty of Arts and Sciences, Harvard Medical School, and the

Harvard Divinity School.

   10. At Harvard, UAW represents thousands of academic workers and non-student academic

workers who receive federal funding, including research grants from the National Science

Foundation and NIH.

   11. Since April 2025, UAW has witnessed the extensive termination of federal funding at

Harvard University. These funding terminations have directly impacted UAW’s central activities.

UAW has been forced to spend significant time and resources responding to the repercussions of

the administration’s actions on its members. UAW has counseled members who have lost funding,

anticipate losing their jobs, and been unable to complete their experiments or thesis research



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impacting their academic process and putting them at risk of leaving academic science entirely,

and connected these members with outside resources. The expenditure of time and diversion of

resources to respond to the fallout of the administration’s actions has affected UAW’s ability to

do the representational, organizing, and advocacy work that is its core mission.

   12. The threats to and termination of Harvard’s federal funding and related demands by the

Trump administration that Harvard make changes to retain its funding have also had a chilling

effect on UAW member’s actions and impacted UAW.

   13. The administration’s actions have created a pervasive sense of fear and intimidation among

UAW members. Defendants’ actions have led some members to no longer feel comfortable

asserting their academic freedom and First Amendment rights.

   14. UAW members are at the front lines of American research, including scientific research on

critical public health issues. Yet their careers are being destabilized by unexplained political

interference. I have seen or heard about more than 100 grant cancellation notices directly impacting

UAW members at Harvard.

   15. Due to the administration’s actions and the termination of over $2 billion in federal

funding, UAW has had to divert staff and financial resources to respond to the significant influx

of inquiries from local union leaders and members regarding the effect of the administration’s

actions on their research funding, job stability, academic freedom, and due process rights.

   16. UAW seeks to protect UAW-represented workers’ terms & conditions of employment

insofar as federal funds directly support UAW member jobs and the threatened and then actual

termination of funding jeopardizes UAW members’ jobs and chills their academic freedom. In

addition, UAW has a long-standing history of supporting increased federal funding for scientific

research, recognizing its importance for innovation, economic growth, and public health.



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I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: June 1, 2025                                  Signed: /s/ Neal Sweeney
                                                     Neal Sweeney




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